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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                              SAN JOSE DIVISION
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                                  12    ROBERT A. NITSCH, et al.,                           Case No. 14-CV-04062-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiffs,                          ORDER REQUIRING HOURLY RATE
                                                                                            JUSTIFICATION FOR MOTION FOR
                                  14            v.                                          ATTORNEYS’ FEES
                                  15    DREAMWORKS ANIMATION SKG INC.,                      Re: Dkt. No. 331
                                        et al.,
                                  16
                                                        Defendants.
                                  17

                                  18          Plaintiff has filed a motion for attorneys’ fees, expenses, and service awards. ECF No. 331.
                                  19   “[T]he party seeking attorney’s fees bears the burden of demonstrating reasonable hours and
                                  20   rates.” Fresh Packing Corp. v. Guicho, 2016 WL 1718286, at *2 (N.D. Cal. Apr. 29, 2016). To
                                  21   meet this burden, Plaintiff must “provide . . . evidence justifying counsels’ requested hourly rates.”
                                  22   Id.
                                  23          After reviewing Plaintiff’s motion for attorneys’ fees and the attached declarations, the
                                  24   Court has identified deficiencies in the evidence justifying certain hourly rates. Therefore, no later
                                  25   than 10:00 a.m. on Friday, November 11, 2016, Plaintiff shall submit a declaration or declarations
                                  26   providing the following information:
                                  27          As to Class Counsel Susman Godfrey LLP, Plaintiff shall provide justification for the
                                  28                                               1
                                       Case No. 14-CV-04062-LHK
                                       ORDER REQUIRING HOURLY RATE JUSTIFICATION FOR MOTION FOR ATTORNEYS’ FEES
                                         Case 5:11-cv-02509-LHK Document 1117 Filed 11/10/16 Page 2 of 2




                                   1   hourly rates of paralegals Norberto Arreola, Simon DeGeorges, Jeffery McLaren, Caroline

                                   2   Edwards, and Page Berardi.

                                   3           As to Class Counsel Cohen Milstein Sellers & Toll PLLC, Plaintiff shall provide the job

                                   4   title and hourly rate for each biller. Small Decl., ECF No. 331-4, at 5. Plaintiff shall also provide

                                   5   justification for the hourly rates of each biller. See id. at 3–4 (providing justification only for the

                                   6   hourly rates of Daniel Small, Brent Johnson, Jeffrey Dubner, and Daniel Silverman).

                                   7           As to Class Counsel Hagens Berman Sobol Shapiro LLP, Plaintiff shall provide

                                   8   justification for the hourly rates of Associate Alex Su, Contract Attorney Nathan Clark, and

                                   9   Paralegals Brian Miller, Jeaneth Decena, Carrie Flexer, and Adrian Garcia.

                                  10           Plaintiff shall also provide citations to any cases in which courts have approved the

                                  11   requested hourly rates.

                                  12   IT IS SO ORDERED.
Northern District of California
 United States District Court




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                                  14   Dated: November 10, 2016

                                  15                                                      ______________________________________
                                                                                          LUCY H. KOH
                                  16                                                      United States District Judge
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                                       Case No. 14-CV-04062-LHK
                                       ORDER REQUIRING HOURLY RATE JUSTIFICATION FOR MOTION FOR ATTORNEYS’ FEES
